Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 1 of 12 PageID #: 37771




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               Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 2 of 12 PageID #: 37772
                 Research



                 JAMA | Original Investigation

                 Association Between Academic Medical Center
                 Pharmaceutical Detailing Policies and Physician Prescribing
                 Ian Larkin, PhD; Desmond Ang, MS; Jonathan Steinhart, MA; Matthew Chao, PhD; Mark Patterson, PhD; Sunita Sah, MD, PhD; Tina Wu, MD, MBA;
                 Michael Schoenbaum, PhD; David Hutchins, MHSA, MBA; Troyen Brennan, MD; George Loewenstein, PhD


                                                                                                                                   Editorial page 1772
                    IMPORTANCE In an effort to regulate physician conflicts of interest, some US academic                          Supplemental content
                    medical centers (AMCs) enacted policies restricting pharmaceutical representative sales visits
                    to physicians (known as detailing) between 2006 and 2012. Little is known about the effect                     CME Quiz at
                                                                                                                                   jamanetwork.com/learning
                    of these policies on physician prescribing.

                    OBJECTIVE To analyze the association between detailing policies enacted at AMCs and
                    physician prescribing of actively detailed and not detailed drugs.

                    DESIGN, SETTING, AND PARTICIPANTS The study used a difference-in-differences multivariable
                    regression analysis to compare changes in prescribing by physicians before and after
                    implementation of detailing policies at AMCs in 5 states (California, Illinois, Massachusetts,
                    Pennsylvania, and New York) that made up the intervention group with changes in
                    prescribing by a matched control group of similar physicians not subject to a detailing policy.

                    EXPOSURES Academic medical center implementation of policies regulating pharmaceutical
                    salesperson visits to attending physicians.

                    MAIN OUTCOMES AND MEASURES The monthly within-drug class market share of
                    prescriptions written by an individual physician for detailed and nondetailed drugs in 8 drug
                    classes (lipid-lowering drugs, gastroesophageal reflux disease drugs, diabetes drugs,
                    antihypertensive drugs, hypnotic drugs approved for the treatment of insomnia [sleep aids],
                    attention-deficit/hyperactivity disorder drugs, antidepressant drugs, and antipsychotic
                    drugs) comparing the 10- to 36-month period before implementation of the detailing policies
                    with the 12- to 36-month period after implementation, depending on data availability.

                    RESULTS The analysis included 16 121 483 prescriptions written between January 2006 and
                    June 2012 by 2126 attending physicians at the 19 intervention group AMCs and by 24 593
                    matched control group physicians. The sample mean market share at the physician-drug-month
                    level for detailed and nondetailed drugs prior to enactment of policies was 19.3% and 14.2%,               Author Affiliations: University of
                    respectively. Exposure to an AMC detailing policy was associated with a decrease in the market             California, Los Angeles (Larkin);
                                                                                                                               University of California, San Diego
                    share of detailed drugs of 1.67 percentage points (95% CI, −2.18 to −1.18 percentage points;
                                                                                                                               (Ang); Austrian Institute of
                    P < .001) and an increase in the market share of nondetailed drugs of 0.84 percentage points               Technology, Seibersdorf, Austria
                    (95% CI, 0.54 to 1.14 percentage points; P < .001). Associations were statistically significant for        (Steinhart); Johannes Kepler
                    6 of 8 study drug classes for detailed drugs (lipid-lowering drugs, gastroesophageal reflux                University, Linz, Austria (Steinhart);
                                                                                                                               Williams College, Williamstown,
                    disease drugs, antihypertensive drugs, sleep aids, attention-deficit/hyperactivity disorder
                                                                                                                               Massachusetts (Chao); Carnegie
                    drugs, and antidepressant drugs) and for 9 of the 19 AMCs that implemented policies.                       Mellon University, Pittsburgh,
                    Eleven of the 19 AMCs regulated salesperson gifts to physicians, restricted salesperson                    Pennsylvania (Patterson,
                    access to facilities, and incorporated explicit enforcement mechanisms. For 8 of these                     Loewenstein); Cornell University,
                                                                                                                               Ithaca, New York (Sah); New York
                    11 AMCs, there was a significant change in prescribing. In contrast, there was a significant               University Langone School of
                    change at only 1 of 8 AMCs that did not enact policies in all 3 areas.                                     Medicine, New York, New York (Wu);
                                                                                                                               National Institute of Mental Health,
                                                                                                                               Bethesda, Maryland (Schoenbaum);
                    CONCLUSIONS AND RELEVANCE Implementation of policies at AMCs that restricted
                                                                                                                               CVS Caremark, Woonsocket,
                    pharmaceutical detailing between 2006 and 2012 was associated with modest but significant                  Rhode Island (Hutchins, Brennan).
                    reductions in prescribing of detailed drugs across 6 of 8 major drug classes; however, changes             Corresponding Author: Ian
                    were not seen in all of the AMCs that enacted policies.                                                    Larkin, PhD, Anderson School of
                                                                                                                               Management, University of
                                                                                                                               California, 110 Westwood Plaza,
                                                                                                                               Los Angeles, CA 90095
                    JAMA. 2017;317(17):1785-1795. doi:10.1001/jama.2017.4039                                                   (ian.larkin@anderson.ucla.edu).



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               Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 3 of 12 PageID #: 37773
               Research Original Investigation                                  Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing




               B
                       etween 2006 and 2012, a number of academic medi-
                       cal centers enacted policies restricting sales visits from       Key Points
                       pharmaceutical representatives to their practicing phy-
                                                                                        Question How did physician prescribing behavior change after US
               sicians (known as detailing), by far the most common form of             academic medical centers implemented policies that limited
               interaction between physicians and the pharmaceutical                    pharmaceutical salesperson detailing?
               industry.1 Between the same dates, the number of academic
                                                                                        Findings Using a difference-in-differences design, the study
               medical centers receiving A or B grades from the American
                                                                                        compared changes in the prescribing behavior of 2126 physicians
               Medical Student Association’s conflict of interest scorecard             at 19 academic medical centers during the periods before and after
               (which evaluates the strictness and comprehensiveness of aca-            enactment of detailing policies with changes in the prescribing
               demic medical center policies dealing with physician interac-            behavior of 24 593 matched control physicians during the same
               tions with pharmaceutical and medical device companies and               period for 262 drugs in 8 drug classes. Policy enactment was
               assigns each academic medical center a letter grade) in-                 associated with a 1.67 percentage point decrease in the market
                                                                                        share of detailed drugs and a 0.84 percentage point increase in
               creased from 22 to 91, and the number receiving an F grade or
                                                                                        the market share of nondetailed drugs. Both estimates were
               incomplete grade declined from 100 to 26.2                               statistically significant in the full sample, but were only statistically
                    Two studies have examined the relationship between                  significant for 9 of the 19 individual academic medical centers.
               academic medical center detailing policies and antipsychotic
                                                                                        Meaning Academic medical center policies to regulate detailing
               prescribing. In the first study,3 enactment of an academic
                                                                                        were associated with modest but significant changes in
               medical center detailing policy was associated with a re-                prescribing behavior for some but not all of the centers that
               duction in off-label prescribing of detailed drugs by ped-               enacted policies.
               iatricians. In the second study,4 there was no association
               between academic medical center policies and prescribing of
               antipsychotics by psychiatrists. Both studies focused on a
               single physician specialty and a single drug class. In a third       change in prescribing behavior of intervention group physi-
               study,5 private practice physicians who did not routinely see        cians before and after their affiliated academic medical cen-
               pharmaceutical sales representatives were slower to change           ter’s policy went into effect with the change in prescribing
               their prescribing after the release of new positive or negative      behavior of matched control physicians at the same points in
               information on 3 specific drugs; however, the study did not          time. Difference-in-differences models are commonly used
               distinguish between physicians who chose not to receive              to examine large-scale policy changes when randomized
               sales visits and those who were not visited due to policies at       clinical trials are infeasible.6
               their medical practice.
                    To our knowledge, no large-scale study has evaluated the        Data
               association between academic medical center detailing                The analysis focused on US academic medical centers in the 5
               policies and changes in prescribing, despite the large clinical      states (California, Illinois, Massachusetts, Pennsylvania, and
               and economic importance of the topic. The objective of this          New York) with the largest number of academically affiliated
               study was to examine the association between detailing               physicians. These 5 states have 20.8% of all US academic
               policy enactment and prescribing behavior by (1) including           medical centers7 and represented nearly 35% of all prescrip-
               prescribing data of physicians in all specialties (including         tions written in the United States in 2015.8 The study period
               generalists), (2) examining drugs in multiple drug classes           of January 2006 to June 2012 was selected because a large
               containing a mix of actively detailed and generic drugs, and         number of academic medical centers changed policies during
               (3) estimating changes in prescribing after policy enactment         this time frame.
               across all academic medical centers in multiple states com-                Information about the content of each academic medical
               pared with a matched control group of physicians not subject         center’s policy was coded based on telephone and in-person
               to similar policies.                                                 interviews conducted from 2012 to 2013 with administrators
                                                                                    at 29 of the 33 academic medical centers in the 5 states. In total,
                                                                                    9 of 29 interviews were conducted in person. For the 4 aca-
                                                                                    demic medical centers that did not respond to interview re-
               Methods                                                              quests, coding was based on policy databases at the Institute
               Study Design                                                         on Medicine as a Profession9 and the American Medical Stu-
               The study received institutional review board approval with          dent Association.2
               a waiver on informed consent from Carnegie Mellon Univer-                  The detailing policy of each academic medical center was
               sity. The data contained no patient-identifying information.         compared with the code of conduct10 established in 2002 by
               The study used a difference-in-differences multivariable             the Pharmaceutical Research and Manufacturers of America
               regression design to compare changes in the prescribing              (PhRMA), which placed some voluntary limits on detailing for
               behavior of physicians at academic medical centers that              all its corporate members. These limits banned all personal gifts
               implemented new detailing policies between January 2006              except branded items such as pens and pads of paper carry-
               and June 2012 (the intervention group) with changes in the           ing a drug name, company logo, or both. Meals given to phy-
               prescribing behavior of a matched control group of physi-            sicians or staff as part of a sales call were also allowed. In 2009,
               cians not subject to such policies. The analysis compared the        an update to the code of conduct disallowed branded items but

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               Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 4 of 12 PageID #: 37774
                 Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing                                     Original Investigation Research



                 continued to allow meals and educational gifts. These poli-                            All 262 drugs included in the study appear in eTable 2 in
                 cies applied nationwide to all sales visits, and therefore pro-                   the Supplement. The number of drugs in the database was
                 vided a baseline set of regulations for the study.                                not static during the study period because the US Food and
                      Of the 33 academic medical centers, 9 enacted policies                       Drug Administration (FDA) approved a number of new drugs
                 stricter than the PhRMA code of conduct before the start of                       between 2006 and 2012. Of the included drugs, 87 were
                 the study period and were excluded from the analysis be-                          detailed at some point during the study, although many of
                 cause the study design required adequate data from both be-                       them were detailed for only part of the study period. Fifty
                 fore and after the intervention. Of the remaining 24 aca-                         drugs were detailed during the entire study period. Twenty-
                 demic medical centers, 20 implemented policies during the                         five generic drugs were approved during the study period in
                 study period that were stricter than the PhRMA code of con-                       which the bioequivalent brand-name drug in question had
                 duct. Specific regulations for these academic medical centers                     never previously faced generic competition. Twelve brand-
                 were coded in 3 areas: (1) salesperson gifts to physicians,                       name drugs were newly approved by the FDA during the
                 (2) salesperson access to academic medical center facilities,                     study period.
                 and (3) mechanisms for enforcement of the policies.                                    Among the 175 drugs never detailed during the study, 114
                      The market research firm IMS provided data based on                          were generic drugs, meaning they did not have a brand name
                 quarterly surveys of the physicians affiliated with each indi-                    and were only referred to by their chemical name. The remain-
                 vidual hospital within these 20 academic medical centers.                         ing 61 were brand-name drugs that were not detailed during
                 The hospitals covered by each academic medical center                             the study period. Generic and bioequivalent brand-name drugs
                 policy are listed in eTable 1 in the Supplement. The study                        were treated as separate in the analysis.
                 included all intervention group physicians who were full-                              The pharmacy benefits manager provided a database
                 time attending physicians at an academic medical center hos-                      of potential control physicians whose prescriptions were
                 pital for at least 1 quarter during the study period, and who                     filled in the 5 states in the study, and data on all prescrip-
                 wrote at least 50 prescriptions that were processed by CVS                        tions filled through its pharmacy benefits system. The
                 Caremark, a major pharmacy benefits manager. A physician                          resulting database contained more than 250 000 potential
                 who was reported by the IMS survey as having left the aca-                        control physicians.
                 demic medical center was dropped from the intervention                                 A strict matching protocol was used to create a control
                 group beginning at that point in time.                                            group of physicians who were similar to intervention group
                      Physicians who likely wrote prescriptions in environ-                        physicians in terms of background and prescribing habits.
                 ments outside the academic medical center, such as part-                          Intervention group physicians were matched to potential
                 time attending physicians or other physicians who merely                          control physicians in the same metropolitan statistical area
                 had admitting privileges at an academic medical center hos-                       based on pharmacy location for the majority of each physi-
                 pital, were excluded from the intervention group because the                      cian’s prescriptions. Control physicians also had to exactly
                 policies would not apply to them for prescriptions written in                     match an intervention physician’s specialty and year of birth,
                 their main practice outside the academic medical center hos-                      which were identified using the American Medical Associa-
                 pital. One academic medical center (Stony Brook University                        tion Masterfile.
                 Medical Center) was excluded from the analysis because                                 To ensure that matched physicians had similar prescrib-
                 there were too few physicians (<25 full-time attending physi-                     ing habits, a control physician was required to be within 10%
                 cians during the study period according to the IMS data) to                       of the intervention group physician’s prescribing volume for
                 conduct reliable statistical testing, leaving the intervention                    all 8 of the drug classes within the first 6 months of the study
                 group with 19 academic medical centers.                                           period (before any of the academic medical centers had en-
                      Data at the individual drug level regarding national sales                   acted policies). We included all physicians outside the 19 in-
                 force size for specific drugs were provided by the market re-                     tervention academic medical centers who met these criteria
                 search firm SDI Health. Drug classes were selected based on 2                     as matched controls, which led to an overall ratio of control
                 criteria chosen by the researchers to ensure that the drug classes                to intervention physicians of 11.7 to 1.
                 in the study had a mix of highly detailed drugs and at least 1
                 widely prescribed nondetailed drug. First, the overall drug class                 Statistical Analysis
                 was required to have at least 2000 salespeople during the study                   The dependent variable in the statistical analysis was a phy-
                 period. Second, the detailed drugs within the drug class were                     sician’s market share during a given month for a given drug
                 required to have at least 25% but not more than 75% of the total                  within a drug class. For example, if a physician prescribed
                 market share during the study period.                                             drug A 5 times, drug B 10 times, drug C 15 times, drug D
                      The 8 drug classes meeting these criteria were lipid-                        20 times, and drug E 0 times within a month, the physician
                 lowering drugs, gastroesophageal reflux disease drugs,                            wrote 50 total prescriptions within that drug class and had a
                 diabetes drugs, antihypertensive drugs, attention-deficit/                        market share of 10% for drug A, 20% for drug B, 30% for drug C,
                 hyperactivity disorder drugs, antidepressant drugs, antipsy-                      40% for drug D, and 0% for drug E. The sum of each physi-
                 chotic drugs, and hypnotic drugs approved for the treatment of                    cian’s market share within a drug class and within a month was
                 insomnia (referred to as sleep aids). All drugs within these 8 drug               100%. Drugs that a physician never prescribed during the study
                 classes that had a within-drug class market share of at least 0.5%                period were not included in the data for that physician. Within
                 were included.                                                                    a given drug class, a physician was only included if that

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               Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 5 of 12 PageID #: 37775
               Research Original Investigation                                     Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing



               physician prescribed drugs within that drug class at some point         before or after the intervention, or if the 2 groups being com-
               during the study period. Market share is frequently used as a           pared had different time trends before the intervention
               dependent variable in studies on physician prescribing, espe-           occurred.13 Two additional analyses were conducted to exam-
               cially when data on all drugs within a drug class are included.11       ine the exact timing of prescribing changes identified in the
                    The regression approach modeled the change in prescrib-            regression analyses to rule out these problems.
               ing after enactment of an academic medical center policy by                  First, raw data plots were generated to show changes in
               calculating a regression coefficient that estimated the post-           the actual data across time. Because academic medical cen-
               intervention between-group difference in prescribing com-               ters enacted policies at different points in time, the data for
               pared with the preintervention between-group difference. This           each academic medical center and its matched control group
               coefficient was calculated separately for drugs detailed and            were centered on the date that the academic medical center
               those not detailed because policies regulating detailing might          implemented the policy. This meant that the raw data were
               affect these 2 drug categories in opposite ways, reducing the           analyzed not according to calendar months, but according
               likelihood a physician would prescribe a detailed drug for a pa-        to months before or months after the intervention, a variable
               tient, and increasing the likelihood a physician would in-              termed months to intervention. For example, data from
               stead prescribe a nondetailed drug.                                     November 2007 for an academic medical center that enacted
                    The study distinguished between these 2 categories by using        policies in December 2007 were paired with data from June
               2 indicator variables. The first variable took a value of 1 if a drug   2007 for a different academic medical center that enacted poli-
               was detailed within a given month, and the second variable took         cies in July 2007 because in both cases the data were from the
               a value of 1 if the drug was not detailed within that month. For        month before intervention.
               each drug within each month, exactly 1 of these indicators took              The market share data used in the raw data plots were
               a value of 1. These indicator variables were then each inter-           calculated at the academic medical center level, not at the
               acted with an indicator variable that designated whether the            physician level, so that each academic medical center and
               physician was in the intervention group, and an indicator vari-         control group pair had a single observation for each month
               able that took a value of 1 for all periods after which a specific      before the intervention. This avoided the overweighting of
               academic medical center had adopted its policy.                         data for any particular period so that time trends could be
                    To focus on the changes in prescribing related to the in-          accurately assessed. One version of the raw data plot con-
               tervention, the sample was limited to prescriptions written up          tained data on all drugs in the database. However, generic
               to 3 years before and 3 years after each academic medical cen-          equivalents of 25 proprietary study drugs were introduced
               ter’s policy intervention, with the preintervention data trun-          for the first time during the study period according to the
               cated for the centers that implemented their policy less than           FDA Orange Book data files.14
               3 years after the beginning of the study period and the post-                The sudden introduction of generic drugs and the phar-
               intervention period truncated for the centers that imple-               macy benefit manager’s policy of mandated generic inter-
               mented their intervention less than 3 years before the end date         change caused a decline in the market share of detailed drugs
               of the study period.                                                    at the time of such generic entry, which made plots of time
                    Fixed effects were included in the regression analyses for         trends more difficult to interpret. A second version of the raw
               individual physicians, months, and drugs. The fixed effects             data plot therefore excluded brand-name drugs that faced ini-
               controlled for baseline differences in prescribing behavior             tial bioequivalent generic entry during the study period, and
               across physicians, hospitals, geographies, drugs, and drug              their corresponding generic equivalents. Specifically, if the first
               classes. The inclusion of physician fixed effects meant that any        time a generic version of a proprietary drug as listed in the FDA
               difference across physicians that did not vary over time did not        Orange Book occurred during the study period, both the pro-
               affect the regression coefficients, even if these differences           prietary and generic equivalent drug were dropped for the
               caused dissimilar prescribing behavior, because each indi-              plot’s second version. All of the detailed and nondetailed drugs
               vidual physician was compared only with himself or herself              included in this second plot, therefore, were actively pre-
               before and after intervention.12 This is a conservative estima-         scribed throughout the study interval.
               tion strategy because observing an association between imple-                A second regression-based investigation of the timing
               mentation of the policies and changes in prescribing required           of the changes in prescribing associated with the interven-
               individual physicians to change their prescribing propensity            tion was conducted. Instead of a single regression coefficient
               after the policy was implemented. Similarly, the use of drug            for the entire postintervention period, as in the main regres-
               fixed effects limited the regression estimates to within-drug           sion model, this regression model estimated a series of monthly
               changes in market share following policy implementation.                regression coefficients (capturing the interactions between the
               Month fixed effects accounted for time trends, and an inter-            months to intervention variables and the intervention group
               action between each month fixed effect and the control group            and postintervention variables) for each month within a 12-
               indicator variable allowed time trends to differ for the con-           month window both before and after policy implementation.
               trol and intervention groups.                                           The regression provided a coefficient for each month before
                    Difference-in-differences models can produce spurious              the intervention, representing the estimated between-group
               findings if an unobserved and unexpected event that af-                 difference compared with the estimated difference in the
               fected only 1 group (eg, a news story about conflicts of inter-         month before intervention, which was the omitted month in
               est at a particular academic medical center) occurred shortly           the regression.

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               Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 6 of 12 PageID #: 37776
                 Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing                                                            Original Investigation Research




                 Table 1. Study Academic Medical Centers, Detailing Policies, and Distribution of Intervention and Control Physicians
                                                                                                                                                               Matched Control
                                                                          Initial Policya                                  AMC Physicians                      Non-AMC Physicians
                                                                                                                                          Amount of Time                        Amount of Time
                                                            Date of       Included      Included        Included                          Included in                           Included in
                     Academic Medical Center                Policy        Gift          Access          Enforcement        No. (%)        Study Data,          No. (%)          Study Data,
                     (AMC)                                  Change        Policyb       Policyc         Policyd            (n = 2126)     Mean (SD), moe       (n = 24 593)     Mean (SD), moe
                     Stanford University                    Oct 2006      Yes           Yes             No                 108 (5.1)      39.6 (24.2)           545 (2.2)       44.8 (22.5)
                     School of Medicine
                     Northwestern University                Jun 2007      Yes           No              No                  87 (4.1)      45.0 (24.9)          1442 (5.9)       48.9 (22.6)
                     Feinberg School of Medicine
                     University of California,              Jul 2007      Yes           Yes             No                  50 (2.4)      43.5 (23.1)           308 (1.3)       47.7 (21.5)
                     Davis, School of Medicine
                     University of California,              Jul 2007      Yes           Yes             Yes                260 (12.2)     44.5 (17.9)          4724 (19.2)      50.4 (21.1)
                     Los Angeles, School of Medicine
                     University of California,              Jul 2007      Yes           Yes             No                 127 (6.0)      40.0 (22.3)           730 (3.0)       44.5 (21.6)
                     San Francisco, School of Medicine
                     Boston University                      Aug 2007      Yes           Yes             Yes                 64 (3.0)      43.9 (20.3)           807 (3.3)       51.9 (21.1)
                     School of Medicine
                     University of Illinois, Chicago,       Dec 2007      Yes           Yes             Yes                 78 (3.7)      42.2 (22.6)          1160 (4.7)       50.2 (21.7)
                     College of Medicine
                     Mount Sinai School of Medicine         Jan 2008      Yes           Yes             No                  39 (1.8)      38.7 (22.9)          1053 (4.3)       41.9 (22.2)
                     University of Southern California      Jan 2008      Yes           Yes             Yes                123 (5.8)      42.5 (21.9)          1531 (6.2)       49.4 (21.7)
                     Keck School of Medicine
                     University of Pittsburgh               Feb 2008      Yes           Yes             Yes                285 (13.4)     49.0 (21.9)          1668 (6.8)       51.6 (22.6)
                     School of Medicine
                     University of Rochester                May 2008      Yes           Yes             Yes                 46 (2.2)      41.5 (29.6)           241 (1.0)       49.9 (17.7)
                     School of Medicine
                     University of California,              Jul 2008      Yes           Yes             No                 284 (13.4)     46.3 (20.6)          1902 (7.7)       48.9 (21.2)
                     San Diego, School of Medicine
                     University of Massachusetts            Jul 2008      Yes           Yes             Yes                191 (9.0)      51.6 (20.6)           643 (2.6)       56.0 (20.5)
                     Medical School
                     Rush Medical College                   Feb 2009      Yes           Yes             Yes                153 (7.2)      45.6 (22.5)          3698 (15.0)      56.0 (21.1)
                     Temple University                      Jun 2009      Yes           Yes             No                  42 (2.0)      32.2 (12.6)           930 (3.8)       36.1 (15.0)
                     School of Medicine
                     New York Medical College               Jan 2010      Yes           Yes             Yes                 18 (1.0)      28.5 (8.5)            843 (3.4)       32.5 (9.8)
                     State University of New York,          Apr 2010      Yes           Yes             Yes                 20 (1.0)      32.6 (13.1)           756 (3.1)       39.9 (14.2)
                     Downstate Medical School
                     Tufts University                       Apr 2010      Yes           Yes             Yes                117 (5.5)      36.7 (14.8)          1168 (4.7)       37.4 (17.1)
                     School of Medicine
                     Thomas Jefferson University            May 2011      Yes           No              No                  34 (1.6)      32.3 (13.4)           444 (1.8)       36.2 (13.8)
                     Medical College
                 a                                                                                            d
                     The policy was in place for all or nearly all of the data analyzed for each AMC.             Penalized salespeople, physicians, or both for noncompliance.
                     A number of AMCs enacted stricter policies at some point during the study                e
                                                                                                                  The maximum value of this variable is 72 months because the study was
                     period, usually several years after the initial policy.                                      limited to 3 years before and 3 years after each AMC’s policy intervention.
                 b
                     Prohibitions on gifts that were stricter than the Pharmaceutical Research                    Because the data start in January 2006 and the end in June 2012,
                     and Manufacturers of America code of conduct.                                                the effective maximum for most AMCs is less than 72 months.
                 c
                     Access restrictions on salespeople.



                      Ordinary least squares was used to estimate the regres-                                 estimate the regressions, and (5) conducting a series of 27 re-
                 sions due to the ease of interpreting the coefficients. Obser-                               gressions in which all observations from a single academic medi-
                 vations were weighted by a physician’s total number of pre-                                  cal center or drug class were omitted to ensure that no single
                 scriptions within a given drug class within a given month.                                   academic medical center or drug class was driving the results.
                 Standard errors were clustered at the physician level and were                               Testing was done at the 95% significance level using 2-sided
                 block bootstrapped with 1000 iterations.                                                     tests. Stata version 14 (StataCorp) was used for all analyses.
                      Alternative versions of the regression model were esti-
                 mated to assess the robustness of the model. These included
                 (1) estimating the associations between the intervention and pre-
                 scribing for generalists and specialists separately, (2) using the
                                                                                                              Results
                 number of prescriptions rather than the market share                                         The analysis included 16 121 483 prescriptions written by 2126
                 as a dependent variable for a given physician, drug, and month,                              attending physicians at the 19 intervention group academic
                 (3) limiting each intervention physician to his or her closest 5                             medical centers between January 2006 and June 2012 and by
                 control matches rather than all matches that met the matching                                the 24 593 matched control group physicians. Most interven-
                 criteria, (4) using a nonlinear maximum likelihood specifica-                                tion and control physicians only prescribed within a limited
                 tion (the fractional logit) rather than ordinary least squares to                            number of the study’s 8 drug classes.

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               Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 7 of 12 PageID #: 37777
               Research Original Investigation                                                         Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing




               Figure 1. Timing of Detailing Policy Implementations and Major Generic Drug Introductions

                                            Stanford University
                                                                                                                                                               Policy implementation
                                                            Northwestern University
                                                                                                                                                        Preintervention       Postintervention
                                                              University of California, Davis
                                                              University of California, Los Angeles
                                                              University of California, San Francisco

                                                                  Boston University

                                                                            University of Illinois, Chicago

                                                                              Mount Sinai
                                                                              University of Southern California

                                                                                University of Pittsburgh

                                                                                       University of Rochester

                                                                                           University of California, San Diego
                                                                                           University of Massachusetts

                                                                                                              Rush University

                                                                                                                      Temple University

                                                                                                                                    New York Medical College

                                                                                                                                           Tufts University
                                                                                                                                           State University of New York, Downstate

                                                                                                                                                                      Thomas Jefferson University


                         2006                      2007                        2008                           2009                   2010                      2011                     2012

               Month of generic
               availability for   Zocor                            Altace                                                       Prevacid              Ambien CR                   Zyprexa
               drugs with ≥10%                                                                                                                                                    Lipitor
               market share     Pravachol                         Protonix                                                                    Effexor XR
                                                       Ambien                                                                              Cozaar

                    January                                                                              Study period                                                                          June
                     2006                                                                                                                                                                      2012


                    The number of intervention physicians ranged from 34 to                                        At the physician level, the intervention group had a
               285 across academic medical centers, and the number of con-                                     greater percentage of specialists than the control group
               trol physicians they were matched to ranged from 241 to 4724                                    (74.6% vs 54.0%, respectively) because intervention group
               (Table 1). The policies enacted between October 2006 and May                                    specialists matched to many more control physicians in the
               2011 at the 19 intervention group academic medical centers dif-                                 pharmacy benefit manager’s database, according to the pre-
               fered in their focus, but all included limits or bans on pharma-                                determined matching criteria (Table 2). The number of
               ceutical representatives providing meals, branded items, and                                    prescriptions written by control physicians was greater than
               educational gifts that went further than the PhRMA code of                                      those written by intervention physicians (mean prescrip-
               conduct. Seventeen academic medical centers placed limits on                                    tions, 609.73 vs 530.36, respectively; median prescriptions,
               hospital access such as bans on salespeople in patient care areas                               401 vs 312). Within the combination unit of observation for
               or requiring salesperson registration and training. The poli-                                   physician, drug, and month used in the regression analyses,
               cies for 11 academic medical centers contained penalties for                                    control physicians prescribed a larger number of drugs per
               salespeople, physicians, or both for noncompliance.                                             month during the preintervention period and a higher pro-
                    The introduction of academic medical center policies                                       portion of detailed drugs.
               was not uniform across the study period (Figure 1). Specifi-                                        The analysis of the data that includes all 262 study drugs
               cally, 9 of 19 intervention academic medical centers, repre-                                    appears in Figure 2A. The levels of market share and time
               senting 53% of intervention physicians, introduced policies                                     trends for detailed drugs were similar for the intervention
               during the 9 months between June 2007 and February                                              and control groups during the preintervention period. After
               2008. Several widely prescribed brand-name drugs faced                                          the intervention period, trends diverged between the 2
               initial generic competition during the months just around                                       groups. The analysis of the data that excluded brand-name
               this period, most notably the brand-name version of the                                         drugs that faced initial generic entry during the study period,
               sleep aid zolpidem, whose generic equivalent was intro-                                         and their generic equivalents, appears in Figure 2B. With
               duced in April 2007 (Figure 1).                                                                 these drugs removed, the preintervention trend against

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                 Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing                                                                                                                           Original Investigation Research




                 Table 2. Summary Statistics for Intervention and Control Physiciansa

                                                                                                            Intervention Physicians                                           Control Physicians
                      Physician-Level Summary Statisticsb
                      No. of physicians                                                                     2126                                                              24 593
                      Male sex, No. (%)                                                                     1397 (65.7)                                                       16 083 (65.4)
                                                                                                                                                                                                                        Abbreviation: IQR, interquartile
                      Specialist, No. (%)                                                                   1586 (74.6)                                                       13 287 (54.0)                             range.
                                                                                                                                                                                                                        a
                      Age, mean (SD), y                                                                       45.4 (10.3)                                                           45.1 (9.5)                              Between-group comparisons
                      Total prescriptions in database                                                                                                                                                                       were significant except for
                                                                                                                                                                                                                            percentage of male physicians and
                                         Mean (SD) [95% CI]                                                  530.36 (491.4) [53-1488]                                             609.73 (987.5) [53-1911]                  mean physician age. Calculated
                                         Median (IQR)                                                        312 (142-1208)                                                       401 (178-1617)                            using a test of mean equivalency.
                                                                                                                                                                                                                        b
                      Preintervention Physician Drug-Level Summary Statisticsc                                                                                                                                              Data on sex, specialty, and age
                      No. of prescriptions                            d                                                                                                                                                     (as of 2006) were taken from the
                                                                                                                                                                                                                            American Medical Association
                                         Mean (SD)                                                             8.68 (7.21)                                                          12.85 (11.89)                           Masterfile.
                                         Median (IQR)                                                          5.00 (3.91-12.21)                                                        7.00 (4.64-16.96)               c
                                                                                                                                                                                                                            Reflect monthly statistics for each
                      Percentage of prescriptions for detailed drugs                                                                                                                                                        physician and reflect the entire
                                                                                                                                                                                                                            preintervention period.
                                         Mean (SD)                                                            40 (32)                                                               43 (35)
                                                                                                                                                                                                                        d
                                                                                                                                                                                                                            Excludes drugs for which physician
                                         Median (IQR)                                                         35 (15-56)                                                            42 (21-67)
                                                                                                                                                                                                                            has no prescriptions.



                 Figure 2. Mean Market Share of Detailed Drugs for Prescriptions Written by Academic Medical Center Intervention Physicians and Control Physicians
                 by Time Relative to Each Center’s Intervention

                     A All 262 study drugsa                                                                                                    B                        212 Study drugs unaffected by generic entryb
                                                                  Preintervention                       Postintervention                                                                      Preintervention                         Postintervention

                                                       7                                                                                                                      7
                                                                                                                                        Academic Medical Center–Level Mean
                 Academic Medical Center–Level Mean




                                                                                                              Control group                                                                                                                Control group
                                                                                                                                         Market Share for Detailed Drugs, %
                  Market Share for Detailed Drugs, %




                                                                                                              Intervention group                                                                                                           Intervention group

                                                       6                                                                                                                      6




                                                       5                                                                                                                      5




                                                       4                                                                                                                      4
                                                           –12   –9       –6        –3   Intervention   3          6        9      12                                             –12        –9        –6       –3   Intervention    3        6          9        12
                                                                                            Month                                                                                                                       Month
                                                                                Months to Intervention                                                                                                       Months to Intervention


                 Months to intervention refers to the number of months relative to each                                                 intervention. A ± 12-month window was selected because pre- and
                 academic medical center’s intervention. Data for each academic medical center                                          postintervention data were available in that window for all but 1 academic
                 is centered by the date of its intervention. Each data point represents the mean                                       medical center. One academic medical center, Stanford University, and its
                 market share for detailed drugs across the 8 drug classes. For each academic                                           control group are not present in months to the intervention between -10 and -12
                 medical center, the mean market share of detailed drugs in a given month to                                            because this represented the last 3 months of 2005, which was before the
                 intervention was calculated separately for all 8 drug classes. This calculation                                        study period.
                 yielded a total of 152 drug class mean market share values. Lines represent best                                       a
                                                                                                                                             Data are from all study drugs.
                 linear fit, and both intercepts and slopes were allowed to vary before and after                                       b
                                                                                                                                             Data from 25 proprietary drugs that faced initial generic entry during the study
                 the intervention at each academic medical center. The market shares were
                                                                                                                                             period, and their corresponding generic equivalents, were removed from this
                 calculated at the academic medical center level, not the individual physician
                                                                                                                                             analysis. The remaining 212 drugs were composed of 123 brand-name drugs
                 level (which is the level of observation for the regressions). The mean market
                                                                                                                                             that did not face initial generic entry during the study period, and 89 generic
                 shares are not directly comparable with the sample means reported in Table 3.
                                                                                                                                             drugs that were introduced before the study period.
                 Eighteen academic medical centers are represented in every month to the



                 prescribing of detailed drugs is diminished for both groups.                                                           show a postintervention divergence between the 2 groups in
                 The preintervention trends are again similar in both the inter-                                                        the prescribing of detailed drugs.
                 vention and control groups, and there is a postintervention                                                                Implementation of academic medical center policies was
                 divergence in trends. The differences between the preinter-                                                            associated with a mean decrease in market share of detailed
                 vention trends indicate that the initial generic entry affected                                                        drugs of 1.67 percentage points (95% CI, −2.18 to −1.18 per-
                 the slopes of the time trends; however, both plots in Figure 2                                                         centage points; P < .001) and an increase in the market share

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                                                                                                                                             1792
                                                                                                                                                                                                  Table 3. Regression Analysis Results and Sample Mean Market Shares, 2006-2012

                                                                                                                                                                                                                                                                                            Detailed Drugs                                                              Nondetailed Drugs
                                                                                                                                                                                                                                                                                                                       Change in Market Share                                                     Change in Market Share
                                                                                                                                                                                                                                                                                                                       After Implementation                                                       After Implementation
                                                                                                                                                                                                                                                                                                                       of Detailing Policy,                                                       of Detailing Policy,
                                                                                                                                                                                                                                                                       No. of               Mean Market Share,         Percentage Points                                Mean Market Share,        Percentage Points
                                                                                                                                                                                                                                                                       Observationsa        2006-2012, %b              (95% CI)c                         P Value        2006-2012, %b             (95% CI)c                 P Value
                                                                                                                                                                                                      All Academic Medical Centers (AMCs) and All Drugs                14 791 612           19.3                        −1.67 (−2.18 to −1.18)           <.001          14.2                       0.84 (0.54 to 1.14)      <.001
                                                                                                                                                                                                      AMC-Specific Results Ordered by Date of Policy Intervention
                                                                                                                                                                                                                                                                                                                                                                                                                                      Research Original Investigation




                                                                                                                                                                                                      Stanford University School of Medicine                              122 319           21.7                        −1.05 (−2.91 to 0.80)              .27          15.1                      −0.23 (−1.46 to 1.01)      .72
                                                                                                                                                                                                      Northwestern University Feinberg School of Medicine                 385 205           23.1                        −0.65 (−3.40 to 2.11)              .64          15.4                      −0.06 (−1.71 to 1.68)      .94
                                                                                                                                                                                                      University of California-Davis School of Medicine                   120 327           19.1                        −2.13 (−5.19 to 0.96)              .18          14.0                       1.37 (−0.49 to 3.23)      .15
                                                                                                                                                                                                      University of California-Los Angeles School of Medicine           2 539 672           18.3                        −2.72 (−4.39 to −1.04)             .02          13.4                       1.60 (0.80 to 2.40)      <.001
                                                                                                                                                                                                      University of California-San Francisco School of Medicine           232 137           21.9                         0.54 (−1.54 to 2.67)              .62          16.3                       0.21 (−0.21 to 0.64)      .33
                                                                                                                                                                                                      Boston University School of Medicine                                610 277           14.8                        −2.48 (−4.93 to −0.04)             .05          14.9                       1.92 (−0.63 to 4.47)      .14




                                                                                                                                             JAMA May 2, 2017 Volume 317, Number 17 (Reprinted)
                                                                                                                                                                                                      University of Illinois-Chicago College of Medicine                  501 076           21.0                        −2.03 (−3.70 to −0.38)             .02          13.9                       1.56 (0.15 to 2.96)       .03
                                                                                                                                                                                                      Mount Sinai School of Medicine                                      605 651           21.2                        −2.29 (−5.09 to 0.51)              .11          12.6                      −0.14 (−3.23 to 2.97)      .93
                                                                                                                                                                                                      University of Southern California Keck School of Medicine           869 500           19.4                        −1.87 (−3.69 to −0.02)             .04          13.7                       0.90 (−0.21 to 2.00)      .11




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                                                                                                                                                                                                      University of Pittsburgh School of Medicine                       1 058 972           19.9                        −1.96 (−2.87 to −0.82)           <.001          13.8                       1.23 (0.52 to 1.95)      <.001
                                                                                                                                                                                                      University of Rochester School of Medicine                          116 538           21.9                        −1.46 (−5.30 to 2.61)              .48          18.6                       1.03 (−1.82 to 3.87)      .48
                                                                                                                                                                                                      University of California-San Diego School of Medicine             1 180 198           19.2                        −0.62 (−1.23 to −0.02)             .03          14.2                       0.40 (0.01 to 0.62)       .03
                                                                                                                                                                                                      University of Massachusetts Medical School                          769 198           15.8                        −1.51 (−2.17 to −0.85)           <.001          13.8                       1.47 (0.79 to 2.15)      <.001
                                                                                                                                                                                                      Rush Medical College                                              4 246 339           17.7                        −0.91 (−2.23 to 0.41)              .18          11.8                       0.62 (0.01 to 1.22)       .04
                                                                                                                                                                                                      Temple University School of Medicine                                233 190           22.3                         0.32 (−7.29 to 7.34)              .94          16.7                      −0.51 (−12.88 to 11.89)    .93
                                                                                                                                                                                                      New York Medical College                                            300 923           22.5                        −4.72 (−11.27 to 1.80)             .16          15.4                       0.37 (−1.80 to 2.56)      .74
                                                                                                                                                                                                      State University of New York, Downstate Medical School              325 786           21.9                        −1.59 (−2.87 to −0.31)             .01          14.0                       1.58 (0.84 to 2.31)      <.001
                                                                                                                                                                                                      Tufts University School of Medicine                                 434 177           17.6                        −1.02 (−2.02 to −0.01)             .04          17.6                       0.70 (0.02 to 1.36)       .04
                                                                                                                                                                                                      Thomas Jefferson University Medical College                         140 109           21.5                        −1.23 (−4.36 to 1.89)              .44          14.6                       0.51 (−0.37 to 1.40)      .25
                                                                                                                                                                                                      Drug Class–Specific Results Ordered by Size of Effect
                                                                                                                                                                                                      Sleep aidsd                                                         375 753           51.4                       −10.5 (−18.87 to −2.16)             .01          50.9                       4.67 (0.81 to 8.50)       .02




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                                                                                                                                                                                                      Gastroesophageal reflux disease drugs                             1 166 894           37.0                        −6.89 (−9.10 to −4.70)           <.001          22.7                       3.98 (2.63 to 5.31)      <.001
                                                                                                                                                                                                      Attention-deficit/hyperactivity disorder drugs                      149 703           29.0                        −5.03 (−9.92 to −0.05)             .04          40.6                       2.51 (−1.02 to 6.05)      .16
                                                                                                                                                                                                      Antidepressant drugs                                              2 453 111           22.5                        −2.32 (−3.26 to −1.37)           <.001          12.4                       1.17 (0.68 to 1.66)      <.001
                                                                                                                                                                                                      Lipid-lowering drugs                                              2 490 775           28.8                        −1.51 (−2.36 to −0.66)             .001         10.5                       1.31 (0.69 to 1.92)      <.001
                                                                                                                                                                                                      Antihypertensive drugs                                            5 496 003             9.2                       −0.84 (−1.34 to −0.35)             .002          9.1                       0.67 (0.37 to 0.96)      <.001
                                                                                                                                                                                                      Antipsychotic drugs                                                 335 149           37.8                        −0.55 (−2.79 to 1.70)              .63          28.0                       0.89 (−0.53 to 2.32)      .22
                                                                                                                                                                                                      Diabetes drugs                                                    2 311 089           10.9                         0.60 (−0.26 to 1.47)              .24          16.6                      −0.05 (−1.08 to 0.98)      .92
                                                                                                                                                                                                  a                                                                                                                      c
                                                                                                                                                                                                      Total number of physician-drug-month observations for the given sample.                                                Associated with AMC policies restricting pharmaceutical detailing.
                                                                                                                                                                                                  b                                                                                                                      d
                                                                                                                                                                                                      Given as a reference to interpret the size of the reported change in market share associated with AMC policies         Hypnotic drugs approved for the treatment of insomnia.
                                                                                                                                                                                                      restricting pharmaceutical detailing.




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                                                                                                                                                                                                                                                                                                                                                                                                                                      Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 9 of 12 PageID #: 37779
              Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 10 of 12 PageID #: 37780
                 Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing                                                                                 Original Investigation Research



                 of nondetailed drugs by 0.84 percentage points (95% CI, 0.54
                                                                                                   Figure 3. Coefficient Estimates of Monthly Between-Group Differences
                 to 1.14 percentage points; P < .001) (Table 3). Of the 19 aca-                    in Market Share of Detailed Drugs
                 demic medical centers, results were statistically significant for
                 9 academic medical centers for detailed drugs and for 8 aca-                                                                         Preintervention                       Postintervention
                 demic medical centers for nondetailed drugs.                                                                             2
                      Of the 11 academic medical centers with policies                                                                                                                          Comparison month




                                                                                                   Difference-in-Differences Regression
                 that limited salesperson gifts to physicians, regulated sales-                                                           1




                                                                                                     Coefficient in Percentage Points
                 person access to facilities, and provided enforcement
                                                                                                                                          0
                 mechanisms such as penalties for salespeople and physi-
                 cians who violated the policy, there were significant re-
                                                                                                                                          –1
                 sults at 8 (University of California, Los Angeles; Boston
                 University; University of Illinois, Chicago; University of                                                               –2
                 Southern California; University of Pittsburgh; University
                 of Massachusetts; State University of New York, Downstate;                                                               –3
                 and Tufts University) and nonsignificant results at 3
                 (Rush Medical College, New York Medical Center, and Uni-                                                                 –4
                                                                                                                                               –12   –9        –6       –3   Intervention   3      6           9   12
                 versity of Rochester). In contrast, there was a significant                                                                                                    Month
                 change at only 1 of 8 academic medical centers (University of                                                                                       Months to Intervention
                 California, San Diego) that failed to enact 1 or more of these
                                                                                                   Results of difference-in-differences regression estimating the difference in
                 policies and nonsignificant results at 7 (Stanford University;                    prescribing of detailed drugs between intervention and control physicians in a
                 Northwestern University; University of California, Davis;                         given month to intervention compared with the difference in the month before
                 University of California, San Francisco; Mount Sinai; Temple                      intervention (which was the omitted month to intervention in the regressions,
                                                                                                   and therefore represents the comparison month). Data markers represent the
                 University; and Thomas Jefferson University).
                                                                                                   coefficient estimate and the error bars represent the 95% CIs. Negative values
                      At the drug class level, detailing policies were associated                  reflect lower prescribing of detailed drugs in the intervention group vs the
                 with statistically significant changes in market share for 6 of                   control group during the given month to intervention compared with the same
                 the 8 drug classes (Table 3). Sleep aid drugs, drugs for gastro-                  calculation during the month before intervention.

                 esophageal reflux disease, and attention-deficit/hyperactiv-
                 ity disorder drugs all showed decreases of greater than 5 per-                    medical centers, enactment of detailing restrictions at aca-
                 centage points in market share for detailed drugs. Market share                   demic medical centers was associated with a decrease in the
                 of detailed drugs for antidepressant agents, antihypertensive                     prescribing of detailed drugs of 1.67 percentage points of market
                 drugs, and lipid-lowering drugs decreased by 0.84 to 2.32 per-                    share, and an increase in prescribing of nondetailed drugs of
                 centage points. All of these results were statistically signifi-                  0.84 percentage points. Evaluated at a sample mean market
                 cant. Coefficients for change in market share of nondetailed                      share of 19.3% for detailed drugs, the 1.67 percentage point re-
                 attention-deficit/hyperactivity disorder drugs, and detailed and                  duction represented an 8.7% relative decrease in market share
                 nondetailed antipsychotic drugs and diabetes drugs, were not                      after the intervention. At the 14.2% sample mean market
                 statistically significant.                                                        share for nondetailed drugs, the 0.84 percentage point in-
                      The results of the regression analysis that estimated a sepa-                crease represented a 5.6% relative increase in market share fol-
                 rate difference-in-differences coefficient for drug prescrib-                     lowing the intervention.
                 ing during the 12 pre- and postintervention months appear in                          Due to mandated generic interchange, whereby the phar-
                 Figure 3 and in eTable 3 in the Supplement. The estimated                         macy benefits manager automatically substituted generics
                 between-group difference was not statistically significant and                    for brand-name drugs when generic equivalents were avail-
                 close to 0 for the preintervention months, but was positive and                   able and when allowed by state law, more than 95% of non-
                 statistically significant during all postintervention months.                     detailed prescriptions in the data were for generic drugs. There-
                      In each of the 5 classes of alternative models intended to                   fore, across academic medical centers and drug classes,
                 test for the robustness of the results, the signs of coefficients                 prescriptions shifted away from detailed drugs and toward ge-
                 of interest were the same as those for the main model, and the                    neric drugs following the introduction of policies restricting
                 statistical significance of the results for both detailed and non-                pharmaceutical detailing.
                 detailed drugs remained at P < .001. The results of these tests
                 appear in eTable 4 in the Supplement.                                             Limitations
                                                                                                   This study has several limitations. First, the observational de-
                                                                                                   sign precludes proving causal relationships because other secu-
                                                                                                   lar changes may have occurred that could have influenced the
                 Discussion                                                                        study results. For instance, some academic medical centers
                 In this study comparing changes in the prescribing behavior                       likely underwent other changes around the time that they en-
                 of 2126 physicians at 19 academic medical centers with the                        acted detailing policies, such as initiating a culture of evidence-
                 prescribing behavior of 24 593 matched control physicians dur-                    based practice or providing education and training around in-
                 ing the 10- to 36-month period before vs the 12- to 36-month                      dustry interactions. However, the results in Figure 3, showing
                 period after implementation of detailing policies at academic                     that the changes in prescribing started during the exact month

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               Case 3:17-cv-01362 Document 1115-13 Filed 10/24/20 Page 11 of 12 PageID #: 37781
               Research Original Investigation                                                Association Between Pharmaceutical Detailing Restrictions and Physician Prescribing



               of policy enactment, support the hypothesis that enactment                          was not associated with significant changes in prescribing for
               of the policies was associated with changes in prescribing. Nev-                    all drug classes and academic medical centers, the aggregate
               ertheless, it is not possible to rule out that the prescribing                      results were highly significant, and this was true even when
               changes observed in the study reflected other changes at aca-                       individual drug classes and academic medical centers were suc-
               demic medical centers that coincided with detailing policies.                       cessively removed from the analysis.
                    Second, control group physicians were mainly in private                             Even though the overall results of the study demonstrated
               practice, whereas intervention group physicians were associ-                        a significant association between implementation of detailing
               ated with academic medical centers. Even though the use of                          policies and change in prescribing of detailed drugs, the fact that
               fixed effects in the analysis controls for baseline physician                       only 9 of the 19 academic medical centers included in the study
               differences in prescribing behavior, it is possible that control                    had statistically significant results may suggest that the results
               group physicians would have responded differently if ex-                            lack generalizability. However, as shown in Table 1, academic
               posed to the policies than did intervention group physicians.                       medical center detailing policies varied widely. Future research
               Third, the study used data sources for which accuracy has not                       should examine the relationship between the content of aca-
               been validated or for which there are known accuracy issues                         demic medical center detailing policies and the prescribing pat-
               (ie, the American Medical Association Masterfile to code type                       terns of physicians, especially because such policies are increas-
               of physician specialty, the affiliation data provided by IMS,                       ingly being adopted by private medical practices.
               and the detailing data provided by SDI Health). Fourth, re-                              These results complement findings from other studies15-17
               searcher judgment was used to determine the 8 drug classes                          that have documented correlations between physician pre-
               to include in the study. It is possible that examination of other                   scribing of detailed drugs and detailing strategies such as meals,
               drug classes may have produced different results. Fifth, the                        as well as 2 studies18,19 that reported that physicians who had
               study period ended in 2012, and many academic medical cen-                          graduated from medical schools with strict conflict of inter-
               ters have taken further measures since 2012 to limit conflicts                      est policies prescribed fewer marketed (detailed) medica-
               of interest, so it is unknown whether the findings would trans-                     tions. The current study provides new evidence relevant to the
               late to the current environment.                                                    evaluation of detailing policies by examining changes in the
                    However, the study had several strengths that suggest that                     prescribing of detailed and nondetailed drugs by physicians
               the most likely explanation for the associations identified in                      who were and were not subject to detailing policies imple-
               the results was that the policies influenced prescribing behav-                     mented at academic medical centers.
               ior. The difference-in-differences design used in the study is                           The reduction in the prescribing of detailed drugs and the
               superior to the purely cross-sectional approaches used in sev-                      increase in the prescribing of nondetailed drugs potentially rep-
               eral other studies addressing the same question. This design                        resents a large reduction in costs. In 2010, pharmaceutical com-
               is commonly used to assess the effects of changes in policies                       panies earned more than $60 billion in revenues for detailed
               when, as is true of the implementation of detailing policies,                       drugs included in the study,20 and generic drugs are on aver-
               randomized clinical trials are impractical.                                         age 80% to 85% less expensive than brand-name drugs.21 A
                    The study was also more comprehensive than previous                            1-percentage point change in market share could represent ap-
               studies examining drug detailing and conflicts of interest.                         proximately a 5% relative change in revenue for the average
               The data set included all widely prescribed drugs within 8                          detailed drug, suggesting that the observed changes in pre-
               major drug classes, prescribed by both generalist and spe-                          scribing could have important economic implications.
               cialist physicians. The academic medical centers in the
               study encompassed a large number of physicians who were
               exposed to the policies in the middle of an ongoing stream                          Conclusions
               of prescribing, and an even larger control group of physi-
               cians matched on geography, age, specialty, and drug pre-                           Implementation of policies at academic medical centers that
               scribing prior to policy enactment.                                                 restricted pharmaceutical detailing between 2006 and 2012
                    Academic medical centers in the study implemented poli-                        was associated with modest but significant reductions in pre-
               cies at different points in time, which helps to reduce con-                        scribing of detailed drugs across 6 of 8 major drug classes; how-
               cern that unobserved events distinct from the policies can ac-                      ever, changes were not seen in all of the academic medical cen-
               count for the results. Although implementation of the policies                      ters that enacted policies.


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        1794   JAMA May 2, 2017 Volume 317, Number 17 (Reprinted)                                                                                                      jama.com

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